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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN ORENDE, Individually and on behalf

of all others similarly situated, Case No. 2:19-cv-05281-MAK

Plaintiff, PLAINTIFF’S NOTICE OF VOLUNTARY

DISMISSAL PURSUANT TO F.R.C.P.
4l(A)D(AD

Vv.

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ACHILLION PHARMACEUTICALS, INC., :
NICOLE VITULLO, JOSEPH TRUITT, §
DAVID SCHEER, FRANK VERWIEL, §
JASON S. FISHERMAN, KURT GRAVES,
MICHAEL D. KISHBAUCH, and ROBERT L.g
VAN NOSTRAND, §
§

§

§

§

Defendants.

PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of
Civil Procedure, plaintiff Kevin Orende (‘Plaintiff’) voluntarily dismisses this action without
prejudice as to both Plaintiffs individual claims and without prejudice as to the claims of the
putative class. This notice of dismissal is being filed before service by Defendants of either an
answer or a motion for summary judgment. Since no class has been certified and the dismissal is
without prejudice to Plaintiff and without prejudice as to all other members of the putative class,
notice of this dismissal is not required. Plaintiff's dismissal of this Action is effective upon filing

of this notice.

Dated: December 11, 2019 Respectfully submitted,

BRODSKY & SMITH, LLC
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Ryan P. Cardona (PA Bar 316350)
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